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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COREY A. DICK,                                 :
    Plaintiff,                                 :
                                               :
       v.                                      :       CIVIL ACTION NO. 24-CV-6760
                                               :
PRIMECARE MEDICAL, INC., et al.,               :
     Defendants.                               :

                                              ORDER

       AND NOW, this 3rd day of January, 2025, because it is unclear to the Court from pro se

Plaintiff Corey A. Dick’s Motion for Leave to Proceed In Forma Pauperis (ECF No. 1) and

Complaint (ECF No. 2) whether he is subject to the Prison Litigation Reform Act (“PLRA”), it is

ORDERED that:

       1.      Within thirty (30) days of the date of this Order, Dick shall submit a statement to

the Court that informs the Court whether he is incarcerated or detained in any facility because he

has been “accused of, convicted of, sentenced for, or adjudicated delinquent for, violations of

criminal law or the terms and conditions of parole, probation, pretrial release, or diversionary

program.” 28 U.S.C. § 1915(h).

       2.      If Dick is residing at a correctional facility as a result of violating criminal laws or

the terms of his probation, parole, pretrial release or of a diversionary program, he shall, if he

seeks to proceed in forma pauperis, file a certified copy of his inmate account statement showing

all deposits, withdrawals, and a current balance, from any correctional facility in which he was

confined from June 18, 2024 through December 18, 2024. See 28 U.S.C. § 1915(a). In that case,

if Dick is ultimately granted leave to proceed in forma pauperis, he will be obligated to pay the
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$350.00 filing fee in installments pursuant to 28 U.S.C. § 1915(b), even if this case is dismissed.

He will not be entitled to the return of any payments made toward the fee.

       3.      The Court will hold Dick’s Motion for Leave to Proceed In Forma Pauperis in

abeyance until Dick complies with this Order.

       4.      If Dick fails to comply with this Order, this case may be dismissed for failure to

prosecute without further notice.

                                              BY THE COURT:




                                              HON. MIA R. PEREZ
